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Students for Safety



 FOR IMMEDIATE RELEASE:                                               Contact: Sarah Blakemore
 Thursday, November 21, 2019                                                      713-851-4247

                         Rally for the Removal of Dr. Thomas Hubbard

AUSTIN, TX - Dr. Thomas K. Hubbard has been advocating for pederasty (pedophilia) for as long
as he has taught at the University of Texas. Since 2000, Dr. Hubbard has used his position to
further a community of individuals hoping to prey on underage boys. In his academic writing,
Hubbard describes physical relationships between men and young boys as "proper learning
experiences." Works like "Boys' Sexuality and Age of Consent" encourage these illicit acts. His
course "Mythology of Rape" was banned at UT after only one semester. Furthermore, Hubbard
is heavily associated with the North American Man/Boy Love Association (NAMbLA), formerly
the world's largest pedophile activist group. He is even on the list of associated individuals on
the NAMbLA Wikipedia page.

We are calling for Dr. Thomas K. Hubbard's immediate removal from his position as a professor
of the classics department at the University of Texas at Austin. An individual who advocates for
violent crime against teen boys had no business teaching the leaders of tomorrow. It is clear to
us that the University of Texas does not have its student's safety, health, and welfare in mind.
Hubbard's misconduct has been brought to administration before to no avail. We refuse to
stand by while this man uses his status to promote pedophilia.

It is our goal to make students aware of Hubbard's disgusting ideals even if the University of
Texas protects him. It should be a student's choice whether to learn from a man with Hubbard's
record.

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